 Case: 23-50632     Document: 256     Page: 1    Date Filed: 07/30/2024




           United States Court of Appeals
                for the Fifth Circuit                    United States Court of Appeals
                                                                  Fifth Circuit
                            ___________                         FILED
                                                             July 30, 2024
                             No. 23-50632
                                                             Lyle W. Cayce
                            ___________
                                                                  Clerk

United States of America,

                                                      Plaintiff—Appellee,

                                 versus

Greg Abbott, in his capacity as Governor of the State of Texas; State
of Texas,

                                       Defendants—Appellants.
                ____________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 1:23-CV-853
               ____________________________

Before Richman, Chief Judge, and King, Jones, Smith, Stewart,
Elrod, Southwick, Haynes, Graves, Higginson, Willett,
Ho, Duncan, Engelhardt, Oldham, Wilson, Douglas, and
Ramirez, Circuit Judges.

                          JUDGMENT

      This cause was considered on the record on appeal and was argued by
counsel.
      IT IS ORDERED and ADJUDGED that the judgment of the
District Court is REVERSED, and the cause is REMANDED to the
 Case: 23-50632        Document: 256        Page: 2     Date Filed: 07/30/2024




                                   No. 23-50632


District Court for further proceedings in accordance with the opinion of this
Court.
         The judgment or mandate of this court shall issue 7 days after the time
to file a petition for rehearing expires, or 7 days after entry of an order denying
a timely petition for panel rehearing, petition for rehearing en banc, or motion
for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
may shorten or extend the time by order. See 5th Cir. R. 41 I.O.P.




                                        2
